Case 8:24-cv-00854-WFJ-NHA Document 25 Filed 09/03/24 Page 1 of 4 PageID 132




                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION

Michael Sutherland, and
Comfy Materials LLC,

      Plaintiffs,
                                             Case No.: 8:24-cv-00854-WFJ-NHA
 v.

 Wellshow Machining Parts, Inc.

      Defendant.
 __________________________________/

                    RESPONSE TO ORDER TO SHOW CAUSE

      Plaintiffs, Michael Sutherland and Comfy Materials LLC (“Plaintiffs”), by

and through the undersigned counsel, hereby file this response to the Court’s

Endorsed Order to show cause, and state the following:

      1.     Plaintiff Michael Sutherland initiated this action, pro se, on April 5,

2024. At that time, no summons was issued as to the Defendants.

      2.     Soon thereafter, the Defendants appeared in the action and filed a

motion for Temporary Restraining Order. Doc. # 4.

      3.     On May 21, 2024, the Court ordered Plaintiff Sutherland to respond

to the Defendants’ Motion and set forth requested information. Doc. # 5.

      4.     Plaintiff Sutherland thereafter retained counsel and responded to the

Court’s Order. See Doc. ## 7, 8.




                                         1
Case 8:24-cv-00854-WFJ-NHA Document 25 Filed 09/03/24 Page 2 of 4 PageID 133




      5.     Defendants responded to Plaintiff Sutherland’s response on June 7,

2024. Doc. # 9.

      6.     Adopting the Magistrate’s Report and Recommendation, this Court

dismissed the Complaint without prejudice.

      7.     Plaintiffs Michael Sutherland and Comfy Materials LLC thereafter

filed an Amended Complaint on July 11, 2024. On July 12, 2024, Defendant

reached out directly to Plaintiff’s counsel, providing an email response to the

Plaintiffs’ Amended Complaint and a proposal for settlement.

      8.     On July 18, 2024, the Court ordered Plaintiffs to pay the filing fee,

which Plaintiffs duly paid on July 23, 2024.

      9.     Due to the Court not receiving proof that the filing fee was paid, the

Court dismissed the action and briefly closed the case, before reopening the case

on August 5, 2024 after receiving proof of payment.

      10.    On August 12, 2024, the Court ordered Plaintiffs to show cause by

September 3, 2024, in writing why the case should not be dismissed for failure to

effect service of process on Defendant, Wellshow Machining Parts, Inc.

      11.    Plaintiffs therefore filed a proposed summons on August 13, 2024,

and the summons was issued on August 14, 2024.

      12.    Defendant is located in Taiwan, a country not party to the Hague

Convention on the Service Abroad of Judicial and Extrajudicial Documents.



                                         2
Case 8:24-cv-00854-WFJ-NHA Document 25 Filed 09/03/24 Page 3 of 4 PageID 134




       13.    Plaintiffs have diligently inquired with various resources, including

the American Institute in Taiwan, and attempted to serve the Defendant in

accordance with Rule 4(h)(2), which allows service on a corporation not within a

judicial district of the United States as prescribed by the foreign country’s law for

service. According to the United States Department of State, Taiwanese law

permits service effected by international registered mail with return receipt

requested.

       14.    Plaintiffs therefore attempted service of the summons and complaint

in the above-described manner. See Exhibit A.

       15.    According to tracking information, the Defendant refused delivery

of the summons and complaint. See Exhibit B.

       16.    In the event the Court deems Plaintiffs’ efforts to be insufficient as

proof of service, Plaintiffs request that the Court extend the time for service of the

Amended Complaint so that Plaintiffs may pursue alternative manners of service

on the Defendant as it refused delivery of the summons and complaint.

       17.    Plaintiffs also request that the Court direct the clerk to address and

send to Defendant the summons and Amended Complaint in order to effectuate

service in accordance with Rule 4(f)(2)(C)(ii) as a permitted method of service on

a foreign corporation in accordance Rule 4(h)(2), or order that Plaintiffs effectuate

service in another manner not prohibited by international agreement as provided

for in Rule 4(f)(3).

                                          3
Case 8:24-cv-00854-WFJ-NHA Document 25 Filed 09/03/24 Page 4 of 4 PageID 135




Dated: September 3, 2024.
                                        Respectfully submitted,
                                        /s/ Joseph F. Southron
                                        Joseph F. Southron, Esq.
                                        Florida Bar Number: 122109
                                        FOUR RIVERS LAW FIRM
                                        400 N. Ashley Drive, Suite 1720
                                        Tampa, Florida 33602
                                        Telephone: (813) 773-5105
                                        Fax: (813) 773-5103
                                        E-Mail: joe@fourriverslaw.com
                                        Secondary E-Mail:
                                        eservice@fourriverslaw.com
                                        Attorney for Plaintiffs

                            CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was filed on

September 3, 2024, with the Court via CM/ECF system, which will send

notification of such filing to all parties and counsel of record.


                                               /s/ Joseph F. Southron
                                               Joseph F. Southron
                                               Florida Bar No. 122109




                                           4
